                   Case 23-11240-TMH            Doc 19        Filed 08/29/23       Page 1 of 17




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC., et al.,1                            )    Case No. 23- 11240 (TMH)
                                                                    )
                            Debtors.                                )    (Joint Administration Requested)
                                                                    )

                 DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL
                 ORDERS AUTHORIZING THE DEBTORS TO (A) CONTINUE
              OPERATING CASH MANAGEMENT SYSTEM, (B) HONOR CERTAIN
              PREPETITION OBLIGATIONS RELATED THERETO, (C) MAINTAIN
             EXISTING BUSINESS FORMS, AND (D) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors-in-possession (the “Debtors” or the “Company”)

in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), hereby file this motion (the

“Motion”) seeking entry of an interim order (the “Interim Order”) and a final order (the “Final

Order”), substantially in the forms attached to this Motion as Exhibit A and Exhibit B, pursuant

to sections 105, 345, and 363 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the

“Bankruptcy Code”), Rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Rule 2015-2 of the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

(i) authorizing the Debtors to (a) continue operating the Cash Management System (as defined

herein), (b) honor and pay the Bank Fees (as defined herein) in the normal course, and (c) maintain

existing business forms, and (ii) granting certain related relief, as described more fully herein. In

support of this Motion, the Debtors respectfully state as follows:




1
 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Phoenix 1040
LLC (255) and AmeriFirst Financial, Inc. (4557). The Debtors’ business address is 1550 McKelleps Road, Suite 117,
Mesa, AZ 85203.


                                                          1
              Case 23-11240-TMH          Doc 19       Filed 08/29/23      Page 2 of 17




                                            Jurisdiction

               The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and the Court may enter a final order consistent with Article III of the United States Constitution.

The Debtors confirm their consent pursuant to Rule 9013-1(f) of the Local Rules to the entry of a

final order by the Court in connection with this Motion to the extent that it is later determined that

the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

               Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

               The bases for the relief requested herein are sections 105, 345, and 363 of the

Bankruptcy Code, Bankruptcy Rules 6003 and 6004, and Local Rule 2015-2.

                                            Background

               On August 24, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are managing their

properties as debtors-in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No

trustee or examiner has been appointed in the Debtors’ chapter 11 cases, and no committees have

been appointed or designated.

               Debtor AmeriFirst Financial, Inc. (“AFI”) is a mid-sized independent mortgage

company. It is licensed to operate in 44 states and serves customers via branches located in over

20 states. In addition to originating and purchasing residential mortgage loans, AFI owns certain

loan master servicing rights and fees generated thereby.



                                                  2
               Case 23-11240-TMH           Doc 19       Filed 08/29/23    Page 3 of 17




                 Additional factual background regarding the events leading to the filing of these

Chapter 11 Cases is set forth in the Declaration of T. Scott Avila in Support of First Day Motions

(the “Avila Declaration”), filed concurrently herewith and incorporated herein by reference.

                                      Cash Management System

                 In the ordinary course of business, the Debtors utilize a centralized cash

management system (the “Cash Management System”) to collect, manage, and disburse funds used

in their business. The Cash Management System is essential to the stability of the Debtors’ assets

and business objectives, and to maximizing the value of their estates.

                 As of the Petition Date, the Debtors maintain twenty-five (25) bank accounts (the

“Bank Accounts”) at several banks, including Alliance Bank of Arizona, BMO Harris Bank N.A.,

Chase Bank, Wells Fargo, Veritex, Centier, and Citizens Bank (collectively, the “Banks”).

Payments to creditors are made from the Bank Accounts, in a variety of ways, including checks,

drafts, wire transfers, credit cards, and automated clearinghouse (“ACH”) transfers. A general

diagram of the movement of funds within the Cash Management System is attached hereto as

Exhibit C, and a summary of bank accounts and a short description of the purpose of each account

is attached hereto as Exhibit D (the “Bank Accounts”).

                 Below is a summary of the Bank Accounts with a short description for the purpose

of each account. Further explanation is provided on Exhibit C to this Motion:

                                                                Last 4 Digits
      Debtor            Institution         Account Type        of Account      Account Purpose
                                                                Number
 1.   Amerifirst        Alliance Bank of                                        AFI owned servicing
                                            Business Analysis   4484
      Financial, Inc.   Arizona                                                 general operating
 2.   Amerifirst        Alliance Bank of                                        AFI owned servicing
                                            Servicing           7714
      Financial, Inc.   Arizona                                                 general operating
 3.   Amerifirst        Alliance Bank of                                        Fannie Servicing
                                            FHLMC               4044
      Financial, Inc.   Arizona                                                 account loan note
 4.   Amerifirst        Alliance Bank of                                        Fannie Servicing
                                            FHLMC               8051
      Financial, Inc.   Arizona                                                 account escrows


                                                    3
               Case 23-11240-TMH           Doc 19         Filed 08/29/23    Page 4 of 17



                                                                  Last 4 Digits
      Debtor            Institution         Account Type          of Account      Account Purpose
                                                                  Number
5.    Amerifirst        Alliance Bank of                                          Fannie Servicing
                                            FNMA                  0270
      Financial, Inc.   Arizona                                                   account loan note
6.    Amerifirst        Alliance Bank of                                          Fannie Servicing
                                            FNMA                  4271
      Financial, Inc.   Arizona                                                   account escrows
7.    Amerifirst        Alliance Bank of                                          Ginnie Servicing
                                            GNMA                  2288
      Financial, Inc.   Arizona                                                   account escrows
8.    Amerifirst        Alliance Bank of                                          Ginnie Servicing
                                            GNMA                  2949
      Financial, Inc.   Arizona                                                   account escrows
9.    Amerifirst        Alliance Bank of                                          AFI owned servicing
                                            Portfolio             1398
      Financial, Inc.   Arizona                                                   account loan note
10.   Amerifirst        Alliance Bank of                                          AFI owned servicing
                                            Portfolio             7385
      Financial, Inc.   Arizona                                                   account escrows
11.   Amerifirst        BMO Harris Bank                                           Hard money loans
                                            Checking Acct.        8588
      Financial, Inc.   N.A.
                                                                                  FHA/VA mortgage
12.   Amerifirst                                                                  insurance payment;
                        Chase Bank          MIP                   4209
      Financial, Inc.                                                             loan transactions.
13.   Amerifirst                                                                  Main Operating
                        Chase Bank          Operating             4191
      Financial, Inc.
                                                                                  Payroll payments to
14.   Amerifirst                                                                  provider, transfers from
                        Chase Bank          Payroll               6620
      Financial, Inc.                                                             misc accounts.
                                                                                  Interim servicing for 1st
                                                                                  payment. AFI funds a
      Amerifirst                                                                  loan, Investor has not
15.                     Chase Bank          Servicing             7122
      Financial, Inc.                                                             purchased the loan and
                                                                                  borrower makes a
                                                                                  payment.
16. Amerifirst                                                                    Trust account
                        Chase Bank          Trust (appraisals)    4217
    Financial, Inc.
    Amerifirst          Chase Bank          Savings               9872
17.                                                                               Unknown
    Financial, Inc.
    Amerifirst          Chase Bank          Savings               3952
18.                                                                               Unknown
    Financial, Inc.
19. Amerifirst          Wells Fargo         Checking Acct.        4352            Private funding account
    Financial, Inc.
                                                                                  Sweep acct. Transfers
      Amerifirst                                                                  into account from
20.                     Veritex             DACA                  5415
      Financial, Inc.                                                             multiple accounts or
                                                                                  CIK/S&D sales.
    Amerifirst
21.                                                                               Loan transactions
    Financial, Inc.     Veritex             WH Checking           9327
22. Amerifirst          Centier             Operating             7532
                                                                                  Account related to
    Financial, Inc.                                                               warehouse deposit
                                                                                  Centier operating
      Amerifirst                                                                  account; AFI
23.                     Centier             Reserve               8813
      Financial, Inc.                                                             plus/minus on loan
                                                                                  funding transactions




                                                      4
               Case 23-11240-TMH        Doc 19        Filed 08/29/23    Page 5 of 17



                                                              Last 4 Digits
      Debtor           Institution       Account Type         of Account      Account Purpose
                                                              Number
     Captive
     Insurance -                                                              Only opened to receive
 24.                   Chase Bank        Checking             9687
     Malaby                                                                   tax refund
     Insurance, Inc.
 25. Phoenix 1040      Citizens Bank      Operating           4721            Operating Account
     LLC


                                            Bank Fees

                The Debtors incur certain fees and charges in connection with the ordinary course

operation of the Cash Management System, including, without limitation, those fees as specified

in the prepetition agreements entered into between the Debtors and the Banks (collectively, the

“Bank Fees”). The Bank Fees include account maintenance charges, charges relating to ACH and

wire transfers, lockbox and depository service charges, and other customary miscellaneous

charges. On average, the Debtors incur approximately $3,400 in Bank Fees per month. In the

ordinary course of business and typically on a monthly basis, the Banks charge the Debtors and

deduct from the appropriate bank accounts certain service charges, and other fees, costs, and

expenses. The Debtors believe there are approximately $3,400 in Bank Fees that have accrued

prepetition and are outstanding as of the Petition Date. Accordingly, the Debtors seek approval to

pay prepetition Bank Fees up to $3,400 and to pay any postpetition Bank Fees and, for the Banks

to deduct, any such Bank Fees in the ordinary course when due.

                                         Business Forms

                The Debtors utilize numerous preprinted business forms in the ordinary course of

their business (including, without limitation, letterhead, purchase orders, invoices, and checks),

including in connection with their Cash Management System. The Debtors would be required by

the United States Trustee (the “U.S. Trustee”) under the U.S. Trustee’s Operating Guidelines for

Chapter 11 Case (the “U.S. Trustee Guidelines”) to incur the expense and delay of ordering

                                                 5
                Case 23-11240-TMH              Doc 19       Filed 08/29/23       Page 6 of 17




entirely new business forms referencing the Debtors’ status as debtors-in-possession absent relief

from the Court. To the extent necessary, the Debtors seek authority to use pre-existing business

forms without such a reference in order to minimize expense to the estate. The Debtors submit

that parties in interest will not be prejudiced if such relief is granted because parties doing business

with the Debtors will likely be aware of their status as debtors-in-possession and, therefore,

changing business forms is unnecessary and would be unduly burdensome. In accordance with

Local Rule 2015-2(a), to the extent the Debtors exhaust their existing supply of checks, the Debtors

will reissue checks with the designation “Debtor-in-Possession” and the corresponding case

number.

                        Compliance with Section 345 of the Bankruptcy Code

                 Pursuant to the U.S. Trustee Guidelines, the U.S. Trustee generally requires

chapter 11 debtors to, among other things, deposit all estate funds into an account with an

authorized depository that agrees to comply with the requirements of the U.S. Trustee’s office.

                 Six of the Banks where the Debtors maintain twenty-three of their twenty-five Bank

Accounts are authorized depositories under the U.S. Trustee Guidelines, including the Debtors

main operating accounts.2 Cause exists to allow the Debtors to continue utilizing the existing Bank

Accounts consistent with historical practices.

                 The Cash Management System is complex and critical to the ongoing stability of

the Debtors’ businesses. Relocating the Cash Management Systems to new accounts and/or an

authorized depository (a) would impose an excessive administrative burden on the Debtors and (b)

could have unwanted or detrimental effects and disruption on the Debtors’ business would stem



2
  Ten of the Debtors’ Bank Accounts are maintained at Alliance Bank of Arizona, subsidiary of authorized depository
Western Alliance Bank.


                                                        6
               Case 23-11240-TMH         Doc 19       Filed 08/29/23    Page 7 of 17




from such a transition. The Debtors will continue to work in good faith with the U.S. Trustee to

address any concerns regarding the use of these accounts on a postpetition basis.

                Out of an abundance of caution, to the extent the Court determines that the

requirements of section 345(b) of the Bankruptcy Code are not satisfied, the Debtors request a 30

day suspension of such requirements, subject to the Debtors’ rights to seek further extensions

                                         Relief Requested

                The Debtors seek entry of the Interim Order and Final Order, pursuant to

sections 105, 345, and 363 of the Bankruptcy Code, Rules 6003 and 6004 of the Bankruptcy Rules,

and Rule 2015-2 of the Local Rules, substantially in the forms attached hereto as Exhibit A and

Exhibit B, authorizing the Debtors to (a) continue operating the Cash Management System,

(b) honor and pay the Bank Fees in the normal course, including any prepetition Bank Fees,

(c) maintain existing business forms, and (d) granting certain related relief, as described more fully

herein.

                                          Basis for Relief

A.        Maintaining the Existing Cash Management System
          is Essential to Debtors’ Operational Stability

                       The U.S. Trustee Guidelines require a debtor-in-possession to, among other

things:

                       establish one debtor-in-possession bank account for all estate monies
                       required for the payment of taxes, including payroll taxes;

                       close all existing bank accounts and open new debtor-in-possession
                       accounts;

                       maintain a separate debtor-in-possession account for cash collateral; and

                       obtain checks that bear the designation “debtor-in-possession” and
                       reference the bankruptcy case number and type of account on such checks.



                                                  7
              Case 23-11240-TMH          Doc 19       Filed 08/29/23   Page 8 of 17




               These requirements are designed to provide a clear line of demarcation between

prepetition and postpetition claims and payments, and help protect against the inadvertent payment

of prepetition claims by preventing banks from honoring checks drawn before the Petition Date.

Enforcement of this provision of the U.S. Trustee Guidelines during these chapter 11 cases would

severely disrupt the administration of the Debtors’ estates. Accordingly, the Debtors respectfully

request authorization to operate the Bank Accounts in the same manner as was maintained in the

ordinary course of business prior to the Petition Date.

               Continuation of the Cash Management System is permitted pursuant to

section 363(c)(1) of the Bankruptcy Code, which authorizes the debtor-in-possession to “use

property of the estate in the ordinary course of business without notice or a hearing.” 11 U.S.C. §

363(c)(1). Additionally, courts in this and other districts have recognized that an integrated cash

management system “allows efficient utilization of cash resources and recognizes the

impracticalities of maintaining separate cash accounts for the many different purposes that require

cash.” In re Columbia Gas Sys., 136 B.R. 930, 934 (Bankr. D. Del. 1992), aff’d in part and rev’d

in part, 997 F.2d 1039 (3d Cir. 1993). The Third Circuit has agreed, emphasizing that requiring a

debtor to maintain separate accounts “would be a huge administrative burden and economically

inefficient.” Columbia Gas, 997 F.2d at 1061; see also Southmark Corp. v. Grosz (In re Southmark

Corp.), 49 F.3d 1111, 1114 (5th Cir. 1995) (finding cash management system allows a debtor “to

administer more efficiently and effectively its financial operations and assets”).

               Here, continued use of the Cash Management System will facilitate the chapter 11

cases by, among other things, avoiding administrative inefficiencies and expenses associated with

disrupting this system and minimizing delays in the payment of postpetition obligations. The

Debtors respectfully submit that parties in interest will not be harmed by the maintenance of the



                                                  8
               Case 23-11240-TMH           Doc 19       Filed 08/29/23     Page 9 of 17




existing Cash Management System because the Debtors employ appropriate mechanisms and

internal control procedures to prevent unauthorized payments on account of obligations incurred

before the Petition Date. As such, maintaining the Cash Management System is in the best interests

of the Debtors’ estates.

                Furthermore, as discussed above, in the ordinary course of business, the Debtors

conduct transactions through electronic wire transfers and other similar methods. If the Debtors’

ability to conduct transactions by debit, wire, credit card, ACH transfer, or other similar methods

is impaired, their estates will incur additional and unnecessary costs. Accordingly, the Debtors

submit that it is in the best interests of all stakeholders for the Court to grant further relief from the

U.S. Trustee Guidelines to the extent they require the Debtors to make all disbursements by check.


B.      Authorizing (i) the Banks to Continue to Maintain, Service, and Administer
        the Bank Accounts and (ii) the Debtors to Pay Bank Fees, Each
        in the Ordinary Course of Business, Is Warranted

                The Debtors respectfully request that the Court authorize the Bank to continue to

maintain, service, and administer the Bank Accounts as an account of the Debtors as debtors-in-

possession, without interruption and in the ordinary course of business. In this regard, the Bank

should be authorized to receive, process, honor, and pay any and all checks, ACH transfers, other

instructions, and drafts payable through, drawn, or directed on such Bank Accounts after the

Petition Date by holders, makers, or other parties entitled to issue instructions with respect thereto;

provided, however, that any check, advise, draft, or other notification that the Debtors advised the

Bank to have been drawn, issued, or otherwise presented before the Petition Date may be honored

by the Bank only to the extent authorized by order of the Court.

                The Debtors further request that the Court authorize the Banks to accept and honor

all representations from the Debtors as to which checks, drafts, wires, or ACH transfers should be


                                                    9
             Case 23-11240-TMH           Doc 19        Filed 08/29/23   Page 10 of 17




honored or dishonored consistent with any order of the Court and governing law, whether such

checks, drafts, wires, or ACH transfers are dated before or subsequent to the Petition Date. The

Debtors also request that, to the extent the Banks honor a prepetition check or other item drawn on

any account either (i) at the direction of the Debtors, (ii) in a good-faith belief that the Court has

authorized such prepetition check or item to be honored, or (iii) as a result of an innocent mistake

made despite the above-described protective measures, the Banks will not be deemed to be liable

to the Debtors or their estates on account of such prepetition check or other item honored

postpetition. The Debtors respectfully submit that such relief is reasonable and appropriate

because the Banks are not in a position to independently verify or audit whether a particular item

may be paid in accordance with a Court order or otherwise.

               The Debtors further request that the Court authorize them to pay the Bank Fees and

authorize the Banks to (i) continue to charge the Bank Fees and (ii) charge-back returned items to

the applicable Bank Account, whether such items are dated before, on, or subsequent to the Petition

Date, in the ordinary course of business. The Debtors’ inability to pay the prepetition Bank Fees

or to continue to pay the Bank Fees in the ordinary course of business postpetition could hinder

their ability to manage the Cash Management System to the detriment of the Debtors’ estates.

               Courts in this district routinely have waived the U.S. Trustee Operating Guidelines

in operating chapter 11 cases with ongoing business operations and restructuring efforts. See, e.g.,

In re GigaMonster Networks, LLC, Case No. 23-10051 (JKS) (Bankr. D. Del. Feb. 9, 2023)

(authorizing the Debtors’ continued use of existing bank accounts); In re Carestream Health, Inc.,

No. 22-10778 (JKS) (Bankr. D. Del. Aug. 24, 2022) (same); In re TZEW Holdco, LLC, Case No.

20-10910 (CSS) (Bankr. D. Del. April 14, 2020) (same); In re PES Holdings, LLC, No. 19-11626




                                                  10
                Case 23-11240-TMH               Doc 19         Filed 08/29/23       Page 11 of 17




(KG) (Bankr. D. Del. Aug. 20, 2019) (same); In re Blackhawk Mining LLC, No. 19-11595 (LSS)

(Bankr. D. Del. Aug. 9, 2019) (same).

C.       Modifying Certain Requirements of Section 345(b) Is Warranted.

                  Section 345(a) of the Bankruptcy Code authorizes a debtor in possession to make

deposits or investments of estate money in a manner “as will yield the maximum reasonable net

return on such money, taking into account the safety of such deposit or investment.” 11 U.S.C.

§ 345(a). For deposits or investments that are not “insured or guaranteed by the United States or

by a department, agency, or instrumentality of the United States or backed by the full faith and

credit of the United States,” section 345(b) of the Bankruptcy Code provides that the estate must

require from the entity with which the money is deposited or invested a bond in favor of the United

States secured by the undertaking of an adequate corporate surety, “unless the court for cause

orders otherwise.” Id. § 345(b). Alternatively, the debtor may require the entity to deposit

governmental securities pursuant to 31 U.S.C. § 9303.3 Additionally, under the U.S. Trustee

Guidelines, debtors in possession must, among other things, close prepetition bank accounts and

open new “debtor in possession” operating, payroll, and tax accounts at one or more

authorized depositories.

                  To the extent that the Cash Management System does not strictly comply with

section 345 of the Bankruptcy Code, the Debtors seek a waiver of the deposit and investment

requirements set forth therein for a 45-day period commencing upon entry of the Interim Order,

without prejudice to the Debtors’ right to seek further modifications or extensions of time. Courts

may waive compliance with section 345 of the Bankruptcy Code and the U.S. Trustee Guidelines


3
     Section 9303 of title 31 provides that when a person is required by law to give a surety bond, that person, in lieu
     of a surety bond, may instead provide an eligible obligation, designated by the Secretary of the Treasury, as an
     acceptable substitute for a surety bond. 31 U.S.C. § 9303.


                                                          11
             Case 23-11240-TMH         Doc 19        Filed 08/29/23   Page 12 of 17




for “cause.” In evaluating whether “cause” exists, courts have considered a number of factors,

including:

                     the sophistication of the debtor’s business;
                     the size of the debtor’s business operations;
                     the amount of the investments involved;
                     the bank ratings (Moody’s and Standard & Poor) of the financial institutions
                      where the debtor in possession funds are held;
                     the complexity of the case;
                     the safeguards in place within the debtor’s own business for ensuring the
                      safety of the funds;
                     the debtor’s ability to reorganize in the face of a failure of one or more of
                      the financial institutions;
                     the benefit to the debtor;
                     the harm, if any, to the debtor;
                     the harm, if any, to the estate; and
                     the reasonableness of the debtor’s request for relief from section 345(b) of
                      the Bankruptcy Code requirements in light of the overall circumstances of
                      the case.

In re Serv. Merch. Co., Inc., 240 B.R. 894, 896 (Bankr. M.D. Tenn. 1999). Here, these factors

warrant a modification of the requirements of section 345 of the Bankruptcy Code to the extent

the Cash Management System does not already strictly comply with its requirements.

              The Debtors’ Bank Accounts comply with the requirements of section 345(b) of

the Bankruptcy Code. The Debtors’ Bank Accounts are maintained at Alliance Bank of Arizona,

BMO Harris Bank, Chase Bank, Wells Fargo Bank, Veritex, Centier Bank, and Citizens Bank, all

of which are insured by the Federal Deposit Insurance Corporation. Thus, the Debtors believe that

any funds that are deposited in these Bank Accounts are secure. Moreover, the Debtors understand

that each of their Banks, except for Centier Bank, have each executed a Uniform Depository

Agreement with, and are designated as an authorized depository by, the U.S. Trustee, pursuant to

the U.S. Trustee Guidelines.

              The Debtors maintain two Bank Accounts at Centier Bank. The Debtors understand

that Centier Bank has not executed a Uniform Depository Agreement with the U.S. Trustee and

                                                12
             Case 23-11240-TMH          Doc 19        Filed 08/29/23   Page 13 of 17




are not authorized depositories under the U.S. Trustee Guidelines. Nonetheless, the Debtors

believe based on their business relationships, and the history of the institution, that Centier Bank

is well-capitalized and financially stable. The Debtors maintain only limited funds at the Centier

Bank Accounts, and each of these are insured by the Federal Deposit Insurance Corporation. Thus,

the Debtors believe that any funds that are deposited in these Bank Accounts should be secure.

               The Debtors believe that Centier Bank is well-positioned to perform depository and

cash management functions during these chapter 11 cases. If the Debtors are granted a waiver, the

Debtors will not be burdened with the significant administrative difficulties and expenses relating

to opening new accounts in a manner that ensures all of their funds are fully insured. In addition,

the risk of severe disruption of the Debtors’ integrated operations will be minimized. Accordingly,

the Debtors respectfully submit that cause exists to allow the Debtors to continue utilizing the

Bank Accounts at Centier Bank consistent with historical practices.

               The Debtors request that they be permitted to maintain their Bank Accounts in

accordance with their existing practices, for a 45-day period commencing upon entry of the Interim

Order, without prejudice to the Debtors’ right to seek further modifications or extensions of time.

D.     The Court Should Authorize the Debtors to Continue
       Using Their Existing Business Forms

               To avoid disruption of the Cash Management System and unnecessary expenses,

pursuant to Local Rule 2015-2(a), the Debtors request authorization to continue to use their

business forms substantially in the form existing immediately before the Petition Date, without

reference to the Debtors’ status as debtors-in-possession. The Debtors submit that parties in

interest will not be prejudiced if such relief is granted because parties doing business with the

Debtors will likely be aware of their status as debtors-in-possession and, thus, changing business

forms is unnecessary and would be unduly burdensome. In accordance with Local Rule 2015-

                                                 13
              Case 23-11240-TMH           Doc 19        Filed 08/29/23   Page 14 of 17




2(a), to the extent the Debtors exhaust their existing supply of checks, the Debtors will reissue

checks with the designation “Debtor-in-Possession” and the case number.

                In other large chapter 11 cases, courts in this district have allowed debtors to use

their prepetition business forms without the “debtor in possession” label.             See, e.g., In re

GigaMonster Networks, LLC, Case No. 23-10051 (JKS) (Bankr. D. Del. Feb. 9, 2023) (authorizing

debtors’ continued use of preprinted check stock without a “Debtor in Possession” marking); In

re Carestream Health, Inc., No. 22-10778 (JKS) (Bankr. D. Del. Aug. 24, 2022) (same); In re

Riverbed Tech., Inc., No. 21-11503 (CTG) (Bankr. D. Del. Nov. 18, 2021) (same); In re Alex and

Ani, LLC, No. 21-10918 (CTG) (Bankr. D. Del. July 14, 2021) (same); In re HighPoint Res. Corp.,

No. 21-10565 (CSS) (Bankr. D. Del. Mar. 26, 2021) (same); In re Town Sports Int’l, LLC,

No. 20-12168 (CSS) (Bankr. D. Del. Oct. 13, 2020) (same); In re Extraction Oil and Gas, Inc.,

No. 20-10548 (Bankr. D. Del. July 13, 2020) (same).

                               Satisfaction of Bankruptcy Rule 6003

                The Debtors believe that they are entitled to immediate authorization for the relief

contemplated by this Motion. Pursuant to Bankruptcy Rule 6003, “[e]xcept to the extent that relief

is necessary to avoid immediate and irreparable harm, the court shall not, within 21 days after the

filing of the petition, issue an order granting the following: . . . (b) a motion to use, sell, lease, or

otherwise incur an obligation regarding property of the estate, including a motion to pay all or part

of a claim that arose before the filing of the petition, but not a motion under Rule 4001.” To the

extent that the requirements of Bankruptcy Rule 6003 are applicable to the relief requested in the

Motion, the Debtors submit that for the reasons already set forth herein, the relief requested in this

Motion is necessary to avoid immediate and irreparable harm. For reasons discussed above, the

relief requested herein is integral to the Debtors’ administrative activities in these Chapter 11



                                                   14
             Case 23-11240-TMH           Doc 19        Filed 08/29/23   Page 15 of 17




Cases and necessary to preserve the value of their business and maximize the value of their estates

for the benefit of all stakeholders. Failure to receive such authorization and other relief during the

first twenty-one (21) days of these Chapter 11 Cases would severely disrupt the administration of

the Debtors’ estates at this critical juncture. Accordingly, the Debtors submit that they have

satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 to support

granting the relief requested herein.

                                        Reservation of Rights

               Nothing contained herein is intended or shall be construed as: (a) an admission as

to the validity of any prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ or any

other party in interest’s rights to dispute any prepetition claim on any grounds; (c) a promise or

requirement to pay a prepetition claim; (d) an implication or admission that any particular claim is

of a type specified or defined in this Motion or any order granting the relief requested by this

Motion; (e) a request or authorization to assume any prepetition agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; or (f) a waiver of the Debtors’ or any other party

in interest’s rights under the Bankruptcy Code or any other applicable law.

                                Waiver of Bankruptcy Rule 6004

               The Debtors seek a waiver of any stay of the effectiveness of any order approving

this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use, sale or lease

of property other than cash collateral is stayed until the expiration of 14 days after entry of the

order, unless the court orders otherwise.” As set forth in the Motion, the relief requested herein is

essential to prevent immediate and irreparable harm to the Debtors’ business operations.

Accordingly, the Debtors submit that ample cause exists to justify a waiver of the fourteen (14)

day stay imposed by Bankruptcy Rule 6004(h), to the extent that it applies.



                                                  15
               Case 23-11240-TMH        Doc 19        Filed 08/29/23   Page 16 of 17




                                               Notice

                The Debtors will provide notice of this Motion to: (a) United States Trustee for the

District of Delaware; (b) the United States Attorney’s Office for the District of Delaware; (c) the

state attorneys general for all states in which the Debtors conduct business; (d) the holders of the

thirty (30) largest unsecured claims against the Debtors on a consolidated basis; (e) counsel to the

prepetition lender; (f) counsel to the postpetition lender; (g) the Banks; and (h) any party that has

requested notice pursuant to Bankruptcy Rule 2002. As this Motion is seeking “first day” relief,

within two business days of the hearing on the Motion, the Debtors will serve copies of the Motion

and any order entered in respect to this Motion as required by Local Rule 9013-1(m).

                                         No Prior Request

                No prior request for the relief sought in this Motion has been made to this or any

other Court.

       WHEREFORE, the Debtors respectfully request entry of the proposed Interim Order and

Final Order, substantially in the forms attached hereto as Exhibit A and Exhibit B, (i) authorizing

the Debtors to (a) continue operating the Cash Management System, (b) honor and pay the Bank

Fees in the normal course, including any prepetition Bank Fees, and (c) maintain existing business

forms, and (ii) granting such further relief as may be appropriate and proper.




                                                 16
           Case 23-11240-TMH   Doc 19        Filed 08/29/23   Page 17 of 17




Dated: August 29, 2023                  PACHULSKI STANG ZIEHL & JONES LLP

                                        /s/ Laura Davis Jones
                                        Laura Davis Jones (DE Bar No. 2436)
                                        David M. Bertenthal (CA Bar No. 167624)
                                        Timothy P. Cairns (DE Bar No. 4228)
                                        919 North Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, Delaware 19899 (Courier 19801)
                                        Telephone: (302) 652-4100
                                        Facsimile: (302) 652-4400
                                        Email: ljones@pszjlaw.com
                                                dbertenthal@pszjlaw.com
                                                tcairns@pszjlaw.com

                                        Proposed Counsel to the Debtors and Debtors in
                                        Possession




                                        17
